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                        UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION

 AMANDA GOFF individually and as                §
 next friend of G.S. and K.S. and as            §
 representative of the Estate of                §
 DEVISON SERGIO JUSTINO, deceased               §
                                                §
        Plaintiffs,                             §
                                                §
 v.                                             §    CIVIL NO: 2:18-CV-00430-JRG
                                                §
 DONALD CURRIER D/B/A D& S                      §
 BOAT RENTALS and                               §
 STANLEY ALEXANDER                              §
                                                §
        Defendants.                             §

                 JOINT MOTION TO STAY ALL DEADLINES AND
                         NOTICE OF SETTLEMENT

        COMES NOW Plaintiffs, Amanda Goff individually and as next friend of G.S.

 and K.S. and as representative of the Estate of Devison Sergio Justino, deceased and

 Defendants Donald Currier d/b/a D & S Boat Rentals and Stanley Alexander (Plaintiffs

 and Defendants collectively referred to as the “Parties”) hereby file this Joint Motion to

 Stay all Deadlines and Notice of Settlement.

        Defendant Stanley Alexander has not appeared, but the settlement will address all

 claims asserted against Defendant Stanley Alexander.

        Parties affirmatively state that all matters in controversy between the parties have

 been settled, in principle, and request the Court to Stay all deadlines on the entered

 Docket Control Order for thirty (30) days, so that appropriate dismissal papers may be

 submitted.




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                              Respectfully submitted,

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